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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
         UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00154 LJO-SKO
12

13                               Plaintiff,                  MEMORANDUM DECISION AND ORDER
                                                             DENYING DEFENDANT’S MOTION TO
14            v.                                             REDUCE SENTENCE PURSUANT TO
                                                             18 U.S.C. § 3582(c)(2)
15       IVAN OROZCO MARTINEZ,

16                                                           (ECF No. 258)
                                 Defendant.
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18

19           Defendant moves for a reduction in his sentence pursuant to 18 U.S.C. § 3582(c)(2)

20   (“§ 3582”), in accordance with § 1B1.10(b)(1) of the United States Sentencing Guidelines (“USSG”

21   or “Sentencing Guidelines”) and Amendment 7821 to the USSG. (ECF No. 258.) The Government

22   filed an opposition to Defendant’s § 3582 motion. (ECF No. 259.) Defendant did not file a reply.

23   Upon a thorough review of the parties’ briefing, the record in the case, including the Probation

24   Office’s Presentence Investigation Report (“PSR”), and the relevant law, the Court DENIES

25   Defendant’s § 3582 motion.

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28    Amendment 782 revised the Drug Quantity Table in USSG § 2D1.1 and reduced by two levels the offense level
     applicable to many drug trafficking offenses. See USSG, sup. App’x C, amend. 782 (2014) (“Amendment 782”).
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 1                                            I. BACKGROUND

 2          On September 19, 2016, Defendant pled guilty to one count of conspiracy to distribute and

 3   possess with intent to distribute methamphetamine, cocaine, and heroin in violation of 21 U.S.C.

 4   §§ 846 and 841(a)(1). (ECF Nos. 60 (Superseding Indictment); 217 (PSR).)

 5          According to the PSR, the quantity of pure methamphetamine attributable to the defendant

 6   was 444.7 grams of “ice.” (PSR ¶ 17.) Pursuant to USSG § 2D1.1(c)(4), because the offense

 7   involved at least 150 grams, but less than 500 grams of methamphetamine (ice), the base offense

 8   level was set at 32. (PSR ¶ 17.) His level was increased by two levels pursuant to USSG

 9   § 2D1.1(b)(12), because the defendant maintained a premises for the purpose of manufacturing or

10   distributing a controlled substance. (PSR ¶¶ 19-22.) Pursuant to §§ 3E1.1(a) and (b), Defendant also

11   qualified for a 3-level base offense reduction for acceptance of responsibility, bringing his total

12   offense level to 31. (Id. ¶¶ 27-28.) His criminal history category was determined to be I. (PSR ¶¶ 34-

13   35.) The PSR, which cited the 2016 Guidelines manual (incorporating all Guideline amendments),

14   found that the Guidelines range for a defendant with an offense level of 31 and a criminal history

15   category I was 108 to 135 months imprisonment. (Id. at 16.) The PSR recommended that the Court

16   sentence Defendant to 108 months imprisonment, the lower end of the Guidelines range. (Id.)

17          On January 30, 2017, this Court sentenced Defendant to 108 months imprisonment. (ECF

18   Nos. 248, 252.)

19                                     II. STANDARD OF DECISION

20          “A federal court generally ‘may not modify a term of imprisonment once it has been

21   imposed.’” Dillon v. United States, 560 U.S. 817, 819 (2010) (quoting § 3582(c)). However, a

22   federal sentencing court is authorized to modify an imposed sentence when the relevant sentencing

23   range was lowered subsequent to a defendant’s original sentence. § 3582(c)(2); see United States v.

24   Dunn, 728 F.3d 1151, 1155 (9th Cir. 2013) (a district court may do so “in the case of a defendant

25   who has been sentenced to a term of imprisonment based on a sentencing range that has

26   subsequently been lowered by the Sentencing Commission.”). Effective November 1, 2014, the

27   Commission promulgated Amendment 782, which generally revised the Drug Quantity Table and

28   chemical quantity tables across drug and chemical types. See Amendment 782. The Commission
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 1   also voted to make the Amendment retroactively applicable to previously sentenced defendants. See

 2   USSG, sup. App’x C, amend. 788 (2014); United States v. Navarro, 800 F.3d 1104, 1107 (9th Cir.

 3   2015).

 4            Determining whether a sentence reduction is appropriate under § 3582(c)(2) “requires a two-

 5   step inquiry.” Dunn, 728 F.3d at 1155. At step one, “a district court must determine whether a

 6   prisoner is eligible for a sentence modification under the Commission’s policy statement in USSG

 7   § 1B1.10.” Id. That policy statement enumerates a list of amendments to the Guidelines which have

 8   lowered the sentencing ranges for certain offenses. See USSG § 1B1.10(d). In the event that one of

 9   the enumerated amendments has lowered a guideline range applicable to a defendant, the district

10   court “shall determine the amended guideline range that would have been applicable to the defendant

11   if the amendment(s) . . . had been in effect at the time the defendant was sentenced.” USSG

12   § B1.10(b)(1).

13            If the answer to step one is that the defendant is eligible for a reduced sentence, the district

14   court turns to step two of the inquiry, where the court “must consider any applicable § 3553(a)

15   factors and determine whether, in its discretion, the reduction authorized by reference to the policies

16   relevant at step one is warranted in whole or in part under the particular circumstances of the case.”

17   Dunn, 728 F.3d at 1155 (internal quotation marks and citation omitted). The § 3553(a) factors

18   include: “the nature and circumstances of the offense and the history and characteristics of the

19   defendant; the purposes of sentencing; the kinds of sentences available; the sentences and ranges

20   established by the Guidelines; relevant policy statements issued by the Sentencing Commission; the

21   need to avoid unwarranted sentencing disparities among similarly situated defendants; and the need

22   to provide restitution to victims.” Id. at 1158 (internal quotation marks and citation omitted).

23                                              III. DISCUSSION

24            By his motion, Defendant requests that the Court reduce his sentence pursuant to

25   Amendment 782. (ECF No. 258.) In its opposition, the Government points out that the PSR used in

26   Defendant’s sentencing incorporated 2016 Guidelines manual, and that Defendant’s Guidelines

27   range was therefore calculated pursuant to the amended Guidelines. (ECF No. 259 at 1-2.)

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 1          This Court sentenced Defendant on January 30, 2017. (ECF Nos. 248, 252.) Defendant’s

 2   PSR, filed with the Court on November 28, 2016, clearly states that it used the 2016 Sentencing

 3   Guidelines Manual, and incorporated all Guideline amendments, to determine Defendant’s offense

 4   level. (PSR ¶ 16.) Amendment 782 became effective on November 1, 2014. USSG § 1B1.10(d)

 5   (2014). The Court incorporated the revised Guidelines in Amendment 782 when it initially sentenced

 6   Defendant. Therefore, Defendant already received the benefit of Amendment 782 at the time of his

 7   sentencing. Defendant is not eligible for a reduction in his sentence.

 8          Based on the foregoing, the Court finds that Defendant is not eligible for a sentence reduction

 9   under § 3582(c) because he was sentenced pursuant to the amended Guidelines and sentenced to a

10   term of imprisonment within amended Guidelines range. As Defendant is not eligible for a sentence

11   reduction, the Court may not proceed to the second half of the two-part inquiry set forth in Dillon.

12   See Dunn, 728 F.3d at 1155.

13                                   IV.   CONCLUSION AND ORDER

14          For the foregoing reasons, IT IS HEREBY ORDERED that Defendant Ivan Orozco

15   Martinez’s motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) is DENIED.

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     IT IS SO ORDERED.
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18      Dated:     January 24, 2018                         /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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